               UNITED STATES DISTRICT COURT
              EASTERN DISTRICT OF WISCONSIN

 UNITED STATES OF AMERICA,

                          Plaintiff,             Case No. 08-CR-302-17-JPS
 v.

 RESA A. WILLIS,

                          Defendant.                               ORDER

       On April 29, 2009, the government filed a multi-count superseding

indictment against various defendants, including this defendant. (Docket

#45). The defendant was charged in Count One of the Superseding

Indictment for distributing heroin in violation of 21 U.S.C. § 841(a)(1) and

(b)(1)(A). Id. at 1-2. On September 6, 2016, the government also charged the

defendant in a single-count information for conspiring to distribute heroin

in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C). (Docket #747).

That same day, the parties filed a plea agreement indicating that the

defendant agreed to plead guilty to the Information, and that the Indictment

charge would be dismissed at sentencing. (Docket #748 at 2-3).

       The parties appeared before Magistrate Judge William E. Duffin on

September 28, 2016, to conduct a plea colloquy pursuant to Federal Rule of

Criminal Procedure 11. (Docket #752). The defendant entered a plea of guilty

as to Count One of the Information. Id. After cautioning and examining the

defendant under oath concerning each of the subjects mentioned in Rule 11,

Magistrate Duffin determined that the guilty plea was knowing and

voluntary, and that the offense charged was supported by an independent

factual basis containing each of the essential elements of the offense. (Docket

#752 and #754).


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       Thereafter, Magistrate Duffin filed a Report and Recommendation

with this Court, recommending that: (1) the defendant’s plea of guilty be

accepted; (2) that a presentence investigation report be prepared; and (3) that

the defendant be adjudicated guilty and have a sentence imposed

accordingly. (Docket #754). Pursuant to General L. R. 72(c) (E.D. Wis.), 28

U.S.C.§ 636(b)(1)(B), and Federal Rules of Criminal Procedure 59(b) or 72(b)

if applicable, the parties were advised that written objections to that

recommendation, or any part thereof, could be filed within fourteen days of

the date of service of the recommendation.

       To date, no party has filed such an objection.

       The Court has considered Magistrate Duffin’s recommendation and,

having received no objection thereto, will adopt it.

       Accordingly,

       IT IS ORDERED that Magistrate Judge William E. Duffin’s report and

recommendation (Docket #754) be and the same is hereby ADOPTED.

       Dated at Milwaukee, Wisconsin, this __th day of October, 2016.

                                   BY THE COURT:




                                   J.P. Stadtmueller
                                   U.S. District Judge




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